      Case 10-20954-GLT            Doc 695      Filed 11/15/17 Entered 11/15/17 15:53:38                  Desc Main
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                                        UNITED STATES BANKRUPTCY COURT
                                        WESTERN DISTRICT OF PENNSYLVANIA


IN RE:

    CAROLE L. TAYLOR                                               Case No.:10-20954 GLT

                 Debtor(s)

    Ronda J. Winnecour                                             Document No.:
               Movant
           vs.
    No Repondents.




                               TRUSTEE'S REPORT OF RECEIPTS AND DISBURSEMENTS
Ronda J. Winnecour, Trustee for the above case, submits the following final report and account of the administration of the
estate pursuant to 11 USC 1302 (b) (1).

       1. The case was filed on 02/18/2010 and confirmed on 01/01/1900 . The case was subsequently
(B)DISMISSED AFTER CONFIRMATION FUNDS TO DEBTOR

         2. The Trustee made the following disbursements.

Total Receipts                                                                                                   1,261,805.11
Less Refunds to Debtor                                                           208,552.41
TOTAL AMOUNT OF PLAN FUND                                                                                        1,053,252.70

Administrative Fees
   Filing Fee                                                                           0.00
   Notice Fee                                                                           0.00
   Attorney Fee                                                                    13,600.48
   Trustee Fee                                                                     40,029.56
   Court Ordered Automotive Insurance                                                   0.00
TOTAL ADMINISTRATIVE FEES                                                                                           53,630.04

Creditor Type Creditor Name                      Claim Amount                  Prin Paid           Int Paid         Total Paid
Secured
    MARGARET MESSMER                                181,800.00               181,800.00          23,634.00         205,434.00
         Acct: XXXXXXX1900
    MARGARET MESSMER                                 33,611.47                 33,611.47          1,344.46          34,955.93
         Acct: XXXXXXXXXXXXXXXXXXXXXXXXXX9-11
    COUNTY OF ALLEGHENY (R/E TAX)*                        0.00                      0.00               0.00              0.00
         Acct: XXXXXXXXXXXXX2010
    COUNTY OF ALLEGHENY (R/E TAX)*                        0.00                      0.00               0.00              0.00
         Acct: XXXXXXXXXXXXXXXXXXX INT
    CITY & SCHOOL DIST OF PITTSBURGH (RE)*            1,458.24                  1,458.24            314.68           1,772.92
         Acct: XXXXXXXXXXXXXXXXXX2010
    CITY & SCHOOL DIST OF PITTSBURGH (RE)*                0.00                      0.00               0.00              0.00
         Acct: XXXXXXXXXXXXXXXXXXXXXXXXXX INT
    NEGLEY PARK HOMEOWNERS ASSOCIATION COUNCIL        4,884.45                  4,884.45            634.98           5,519.43
         Acct: XXXXXXXXXXXXXXXXXXFEES
    MARGARET MESSMER                                      0.00                      0.00               0.00              0.00
         Acct:
    MARGARET MESSMER                                 38,920.72                 38,920.72          1,167.62          40,088.34
         Acct: XXXXXXXXXXXXXXXXXXXXXXXXXXXXXXX/INT
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Creditor Type Creditor Name                   Claim Amount      Prin Paid      Int Paid    Total Paid
Secured
    MARGARET MESSMER                                  0.00           0.00         0.00           0.00
         Acct:
                                                                                          287,770.62

Priority
    PRO SE                                                0.00         0.00       0.00           0.00
         Acct:
    CAROLE L. TAYLOR                                208,552.41   208,552.41       0.00           0.00
         Acct:
    DONALD R CALAIARO ESQ                                 0.00         0.00       0.00           0.00
         Acct:
    CALAIARO CORBETT & BRUNGO PC(++)                      0.00         0.00       0.00           0.00
         Acct:
    DONALD R CALAIARO ESQ                                 0.00         0.00       0.00           0.00
         Acct:
    PRO SE                                                0.00         0.00       0.00           0.00
         Acct:
    MARVIN LEIBOWITZ ESQ                              9,588.00     9,588.00       0.00           0.00
         Acct: XXXXXXXXXXXXXXXXXXXXXXXXXXXX 217
    CALAIARO & CORBETT PC**                           4,012.48     4,012.48       0.00           0.00
         Acct: XXXXXXXXXXXXXXXXXXXXXXXXXXXX 216
    CALAIARO & CORBETT PC**                               0.00         0.00       0.00           0.00
         Acct: XXXXXXXXXXXXXXXXXXXXXXXCORD
    MARVIN LEIBOWITZ ESQ                                  0.00         0.00       0.00           0.00
         Acct:
    NEGLEY PARK HOMEOWNERS ASSOCIATION COUNCIL        2,100.00     2,100.00       0.00      2,100.00
         Acct: XXXXXXXXXXXXXXXXXXXXXXX2011
    SCHNADER HARRISON SEGAL AND LEWIS LLP 386,800.14             386,800.14       0.00    386,800.14
         Acct: XXXXXXXXXXXXXXXXXXXXX 402
    MORRIS JOBE AND COOK LLC                         20,000.00    20,000.00       0.00     20,000.00
         Acct: XXXXXXXXXXXXXXXXXXXXXXXXXXXXXXD487
    RONDA J WINNECOUR PA ID #30399                  111,805.28   111,805.28       0.00    111,805.28
         Acct: XXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXX3-12
    GOLDBERG KAMIN & GARVIN LLP                      40,000.00    40,000.00       0.00     40,000.00
         Acct: XXXXXXXXXXXXXXXXXXENSE
                                                                                          560,705.42

Unsecured
   ESTATE OF THERESA FLATI                            0.00        0.00            0.00           0.00
       Acct: XXXXXXSTED
   COLETTE TAYLOR*                                    0.00        0.00            0.00           0.00
       Acct: ?
   MARJI DUNN                                         0.00        0.00            0.00           0.00
       Acct: ?
   GOLDBERG KAMIN & GARVIN LLP                    8,707.50    8,707.50            0.00      8,707.50
       Acct: XXXXXXXXXXXXXXXXXXXXXXXXXXXXXXIONS
   PATRICIA O'KANE                                    0.00        0.00            0.00           0.00
       Acct: XXXXXXSTED
   RICHARD A FLATI                                    0.00        0.00            0.00           0.00
       Acct: ?
   ESTATE OF THERESA FLATI                            0.00        0.00            0.00           0.00
       Acct: ?
   YVETTE TAYLOR                                      0.00        0.00            0.00           0.00
       Acct: ?
   EQUITABLE GAS CO (*)                             137.46      137.46            0.00        137.46
       Acct: XXXXXXXXXXXXXXXXX0820
   MARGARET MESSMER                             142,301.66  142,301.66            0.00    142,301.66
       Acct: XXXXXXXXXXXXXXXXXXXXXXXFEES
   BERNSTEIN-BURKLEY PC (FORMERLY FOR PETER J ASHCROFT0.00 ESQ)** 0.00            0.00           0.00
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Creditor Type Creditor Name                   Claim Amount      Prin Paid           Int Paid    Total Paid
Unsecured
         Acct:
    GOEHRING RUTTER & BOEHM (FRMLY) DEREK K KOGET0.00  ESQ           0.00              0.00           0.00
         Acct:
    STEVEN B. SILVERMAN, ESQ.                         0.00           0.00              0.00           0.00
         Acct:
    JAMES L COOK III ESQ                              0.00           0.00              0.00           0.00
         Acct: XXXXXXXXXYLOR
    SCHNADER HARRISON SEGAL AND LEWIS LLP             0.00           0.00              0.00           0.00
         Acct:
    JEFFREY T MORRIS ESQ                              0.00           0.00              0.00           0.00
         Acct: XX-USE
                                                                                               151,146.62

TOTAL PAID TO CREDITORS                                                                        999,622.66
  TOTAL CLAIMED
  PRIORITY                560,705.42
  SECURED                 260,674.88
  UNSECURED               151,146.62




  Date: 11/15/2017                                         /s/ Ronda J. Winnecour
                                                           RONDA J WINNECOUR PA ID #30399
                                                           CHAPTER 13 TRUSTEE WD PA
                                                           600 GRANT STREET
                                                           SUITE 3250 US STEEL TWR
                                                           PITTSBURGH, PA 15219
                                                           (412) 471-5566
                                                           cmecf@chapter13trusteewdpa.com
